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     Attorney for Defendant
 5   RODNEY CHARLES RENSHAW
 6
                                 UNITED STATES DISTRICT COURT
 7
                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )   Case No.: 2:08-cr-518 LKK
10                                                   )
                    Plaintiff,                       )   STIPULATION AND ORDER TO
11                                                   )   CONTINUE JUDGMENT AND
            vs.                                      )   SENTENCING AS TO RODNEY
12                                                   )   RENSHAW
     RODNEY CHARLES RENSHAW,                         )
13                                                   )   DATE:  February 9, 2010
                    Defendant                        )
14                                                       TIME:  9:15 a.m.
                                                     )
                                                         JUDGE: Hon. Lawrence K. Karlton
15

16
                                                 Stipulation
17
            The parties, through their undersigned counsel, stipulate that the February 9, 2010
18
     Judgment and Sentencing as to Defendant Rodney Renshaw be continued to March 2, 2010. The
19
     parties agree that additional time is necessary to determine all facts and circumstances relevant to
20
     the sentencing herein. The parties also agree that time may be excluded from the speedy trial
21
     calculation under the Speedy Trial Act for counsel preparation, pursuant to 18 U.S.C. § 3161 (h)
22
     (7) (B) (iv) and Local Code T4.
23
     ///
24
     ///
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 1          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
 2

 3   DATED: February 5, 2010                      by       /s/ Chris Cosca
                                                           Chris Cosca
 4                                                         Attorney for Defendant
                                                           RODNEY CHARLES RENSHAW
 5

 6
     DATED: February 5, 2010                      by       /s/ Chris Cosca for_____________________
 7                                                         Michael Beckwith
                                                           Assistant U. S. Attorney
 8
                                                  Order
 9
            Good cause appearing,
10
            The February 9, 2010 Judgment and Sentencing as to Rodney Renshaw is continued to
11
     March 2, 2010.
12
            Time is excluded from the speedy trial calculation pursuant to 18 U.S.C. § 3161 (h) (7)
13
     (B) (iv) and Local Code T4 for counsel preparation.
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15
            IT IS SO ORDERED.
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17
     DATED:        February 8, 2010
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